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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
_ VV. -
HAMID AKHAVAN,

a/k/a “Ray Akhavan,” and
RUBEN WEIGAND,

Defendants.

COUNT ONE

SEALED INDICTMENT

 

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(Conspiracy to Commit Bank Fraud)

The Grand Jury charges:

OVERVIEW OF THE SCHEME

 

1. From at least in or about
or about 2019, HAMID AKHAVAN, a/k/a
WEIGAND, the defendants, principals

demand marijuana delivery companies

2016, up to and including in
“Ray Akhavan,” and RUBEN
at one of the leading on-

in the United States (the

“Online Marijuana Marketplace Company”), and other co-

conspirators, engaged in a scheme to deceive United States banks

and other financial institutions into processing in excess of

one hundred million dollars in credit and debit card payments

for the purchase and delivery of marijuana products (the

‘Transaction Laundering Scheme”).

Because many United States

banks are unwilling to process payments involving the purchase

 
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of marijuana, the Online Marijuana Marketplace Company used
fraudulent methods to avoid these restrictions and to receive in
excess of one hundred million dollars from customers Located in
California and Oregon who purchased marijuana through the Online
Marijuana Marketplace Company.

2. To effectuate the Transaction Laundering Scheme, HAMID
AKHAVAN, a/k/a “Ray Akhavan,” and RUBEN WEIGAND, the defendants,
and several of the principals of the Online Marijuana
Marketplace Company, arranged for the money received from the
Online Marijuana Marketplace Company’s customers to be disguised
as payments to over a dozen phony online merchants and other
non-marijuana businesses (the “Phony Merchants”), including
transactions that appeared to be for stenographic services,
music stores/pianos, and cosmetic stores. To accomplish this
deceit, the Online Marijuana Marketplace Company relied on third
party payment processors (the “Payment Processors”) who worked
with AKHAVAN, WEIGAND, and other co-conspirators to create phony
offshore corporations and websites (i.e., the Phony Merchants)
and open offshore merchant bank accounts. AKHAVAN, WEIGAND, and
other members of the conspiracy used the Phony Merchants’
offshore bank accounts to disguise payments made to the Online
Marijuana Marketplace Company for the purchase of marijuana
products and to deceive United States banks about the true

nature of the financial transactions they were processing.

 

 
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Working together, AKHAVAN, WEIGAND, other Payment Processors,
and principals of the Online Marijuana Marketplace Company
deceived United States banks and financial institutions—
including federally insured institutions—into processing in
excess of one hundred million dollars in marijuana purchases
made through the Online Marijuana Marketplace Company.

BACKGROUND ON THE ONLINE MARTJUANA MARKETPLACE COMPANY

 

3. At all times relevant to this Indictment, the Online
Marijuana Marketplace Company was a California-based company
that arranged for on-demand sale and delivery of marijuana
products to customers located in California and Oregon. Through
the Online Marijuana Marketplace Company’s mobile application
and website (collectively, the “Applications”), customers could
order marijuana from different dispensaries listed on the
Applications. Specifically, customers used the Applications to
select the marijuana product(s) of their choice, and to receive
delivery of their selection shortly thereafter. Although the
Online Marijuana Marketplace Company operated the technology
platform through which users purchase marijuana (i.e., the
Applications), it was not the actual retailer of the marijuana.
The actual retailers, referred to as “dispensaries,” contracted
with the Online Marijuana Marketplace Company to fulfill orders

placed by customers through the Applications.

 

 

 
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4. To request and receive a delivery of marijuana through
the Applications, a user created an Online Marijuana Marketplace
Company account through the company’s website or mobile
application. Once the customer selected his or her product(s)
for purchase, the Application generated a check-out screen for
the order where the customer could select a payment option. At
various points from in or around 2016, through in or around
2019, one of the payment options offered by the Online Marijuana
Marketplace Company for purchases of marijuana were credit cards
and debit cards. For purchases with credit cards or debit
cards, the Applications allowed customers to enter their card
information and then complete the payment using that
information.

5. Once a customer placed an order, a delivery driver

would deliver the order to the customer shortly thereafter.
Once the delivery was complete, the Online Marijuana Marketplace
Company generated and transmitted via email a receipt for the
purchase. When customers made purchases by credit cards or
debit cards, those purchases would appear on the customers’ card
statements as though they were from merchants other than the
Online Marijuana Marketplace Company (e.g., a merchant from whom
the customer had not in fact purchased the marijuana) .

6. The Online Marijuana Marketplace Company stopped

accepting credit card payments in or around mid-2019.

 

 

 

 

 

 
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BACKGROUND ON CREDIT AND DEBIT CARD PROCESSING

 

7. Credit and debit card transactions are usually
processed through payment networks (the “Payment Networks”), run
by entities such as MasterCard or Visa (the “Credit Card
Companies”), that provide authorization, clearing and settlement
services for credit and debit card transactions. Financial
institutions, as members of these payment networks, can offer
payment processing services directly to merchants, but more
commonly partner with non-bank third parties — including payment
processors, Independents Sales Organizations (“ISOs”), and
Merchant Service Providers (“MSPs,”" collectively with ISOs and
payment processors, the “Processors”) — for such third parties
to process payments on behalf of the sponsoring financial
institutions. These processors are typically required to be
registered with the Payment Networks.

8. Processors typically use Payment Networks set up by
the Credit Card Companies. The Credit Card Companies have rules
that prohibit their credit cards from being used for marijuana
purchases. Violations of these rules can lead to penalties and
ultimately to a merchant being terminated. Debit cards that are
issued by banks often fall under the same rules because the
Processors typically use the Credit Card Companies’ Payment

Networks.

 

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3. When purchases are made with a credit or debit card,
merchant category codes ("“MCCs”} are assigned to each
transaction that are specific to the category of product or
service being purchased. Because the Credit Card Companies do
not support marijuana transactions, they do not have marijuana
merchant codes. As a result, in order to process a marijuana
transaction through a Credit Card Company, a false merchant code
— i.e., a merchant code associated with a different product or
product category — would have to be used. HAMID AKHAVAN, a/k/a
“Ray Akhavan,” and RUBEN WEIGAND, the defendants, and their co-
conspirators, used merchant codes for other products — typically
referred to as “miscoding” — in order to get around these rules.

10. Online credit card and debit card payment transactions
typically consist of two steps: (1) an authorization; followed
by (2) clearing and settlement. Card authorization for online
purchases generally works as follows:

a. A cardholder (i.e., the individual making the
purchase online) initiates a transaction by entering a credit or
debit card number, card expiration date, and other security
features required by the merchant, such as the Card Verification

Value (“CVV") number or the cardholder's zip code.

 

 
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b. The merchant uses its payment software or gateway!
to transmit the cardholder's information and the details of the
transaction, including the name and location of the merchant,
the MCC, a description of the goods and services purchased
{sometimes referred to as the “descriptor”), the amount of the
transaction, and the transaction date, to its partner Processor
(or directly to the merchant’s bank, which is often referred to
as the “acquiring bank’).

c. The Processor captures the transaction
information and routes it through a Payment Network to the
cardholder’s “issuing bank,” as defined below, to be approved or
declined.

d. The bank issuing the credit or debit card to the
customer (“issuing bank”) receives the transaction information
from the Processor and responds by approving or declining the
transaction. Issuing banks in the United States generally will
not extend credit (i.e., approve) transactions that involve
unlawful activity under federal law, such as the sale of

marijuana.*

 

1 A payment gateway is a technology used by merchants to accept
debit or credit card purchases from customers. For online
gales, this typically refers to the “checkout” portals used to
enter credit card information or credentials.

2 Although the personal use of marijuana has been legalized under
State law in several states, including California and Oregon,
marijuana is a Schedule I Controlled Substance under the

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e. The issuing bank sends a response code back to
the Processor, and that code reaches the merchant's payment
gateway and is stored in a batch file pending settlement, which
is described below.

£. If the merchant receives authorization, the
issuing bank will place a hold for the amount of the purchase on
the cardholder's account pending settlement.

g. Finally, the merchant typically provides the
customer a receipt to complete the sale. This entire
authorization process usually takes place within seconds.

h. In order to accept transactions on behalf of the
Credit Card Companies, the acquiring bank must be a registered
member of the Credit Card Companies.

11. Step two of the credit card and debit payment card
process is clearing and settlement, which pertains to the
recording of the movement of funds (“clearing”), and the actual
flow of funds (“settlement”). Clearing and settlement generally
works as follows:

a. During the clearing stage, the issuing bank posts
to each cardholder's account the transaction information that it

received from the merchant (or from the Processor after

 

Controlled Substances Act, and the possession, distribution, and
use of marijuana is unlawful under federal statutes, including
Title 21, United States Code Sections 841 and 844.

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receiving it from the merchant), including the name of the
merchant and the amount for each transaction. However, in the
clearing stage, there is no exchange or transfer of funds.

b. The acquiring bank then credits the merchant’s
account and submits the transaction to the respective Credit
Card Company’s Payment Network for settlement.

ec. In the settlement stage, the Credit Card
Companies use their Payment Networks to forward each transaction
to the appropriate issuing bank, which ordinarily will transfer
funds for the approved transaction, less a fee.

d. The Credit Card Companies typically use their
payment Networks to pay the acquiring bank (and sometimes the
Processor) its respective percentages from the remaining funds,
after which the Processor pays the merchant an amount equal to
the cardholder purchases, minus a fee charged to merchants for
processing the debit and credit card transactions {i.e., the
“merchant discount rate”).

e, The final step is for the issuing bank to use the
information it has received from each transaction to prepare
monthly cardholder statements, which are distributed to
cardholders. These statements typically identify each credit or
debit card purchase made by the cardholder, the amount of the

purchase, and the name associated with the merchant.

 
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THE TRANSACTION LAUNDERING SCHEME

 

12, During the time period charged in this Indictment,
because most banks in the United States were unwilling to
process credit and debit card transactions involving marijuana,
HAMID AKHAVAN, a/k/a “Ray Akhavan,” and RUBEN WEIGAND, the
defendants, and other members of the conspiracy, used several
strategies to trick United States issuing banks into authorizing
marijuana transactions for the Online Marijuana Marketplace
Company. The primary method used by AKHAVAN, WEIGAND, and other
co-conspirators, involved the creation and use of the Phony
Merchants. These fraudulent companies were used to open
offshore bank accounts with merchant acquiring banks and to
initiate credit card charges for marijuana purchases made
through the Online Marijuana Marketplace Company. Because of
the high risk associated with processing transactions that
involved unlawful activity (i.e., the sale of marijuana),
employees at some of the acquiring banks charged high fees for
the acquiring banks to process these transactions.

13. HAMID AKHAVAN, a/k/a “Ray Akhavan,” and RUBEN WEIGAND,
the defendants, worked with other co-conspirators to create the
Phony Merchants — including phony online merchants purportedly
selling dog products, dive gear, carbonated drinks, green tea,
and face creams — and establish Visa and MasterCard merchant

processing accounts with one or more offshore acquiring banks.

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AKHAVAN, WEIGAND, and their co-conspirators arranged for more
than a dozen Phony Merchants to be used by the Online Marijuana
Marketplace Company. For example, some of the website names for
the Phony Merchants included: absolutsoda.com; diverkingdom.com;
fly2skyshop.com; goodegreenbazaar.com; greenteacha.com;
happypuppybox.com; outdoormaxx.com; and soniclogistix.com. The
Phony Merchants also typically had web pages suggesting that
they were involved in selling legitimate goods, such as
carbonated drinks, face cream, dog products, and diving gear.
Yet, as noted above, these companies were actually being used to
facilitate the approval and processing of marijuana
transactions. Furthermore, the Phony Merchants were not based
in the United States, and many of them had the same address
listed as their company address. In addition, while these
entities claimed to be based outside the United States, their
customer service telephone numbers were American phone numbers.
14. Between at least in or about 2017 and at least in or
about July 2019, more than approximately $100 million in credit
and debit card transactions were processed for several of the
Phony Merchants that were being used by HAMID AKHAVAN, a/k/a
“Ray Akhavan,” and RUBEN WEIGAND, the defendants, and other co-
conspirators, to process marijuana purchases involving the
Online Marijuana Marketplace Company. Some of the merchant

websites listed for those transactions include: greenteacha.com,

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medical-stf£.com, organikals.store, and soniclogistix.com.
AKHAVAN, and others, also worked with and directed others to
apply incorrect MCCs to the Online Marijuana Marketplace Company
Marijuana transactions in order to disguise the nature of those
transactions and create the false appearance that the
transactions were completely unrelated to marijuana. Some of
the MCCs/categories listed for the transactions listed above
included stenographic services, music stores/pianos, and
cosmetic stores. None of the merchant website names listed for
those transactions referred to the Online Marijuana Marketplace
Company or to marijuana.

STATUTORY ALLEGATIONS

 

15. From at least in or about 2016, up to and including in
or about 2019, in the Southern District of New York and
elsewhere, HAMID AKHAVAN, a/k/a “Ray Akhavan,” and RUBEN
WEIGAND, the defendants, and others known and unknown, wiilfully
and knowingly combined, conspired, confederated, and agreed
together and with each other to commit bank fraud, in violation
of Title 18, United States Code, Section 1344.

16. It was a part and object of the conspiracy that HAMID
AKHAVAN, a/k/a “Ray Akhavan,” and RUBEN WEIGAND, the defendants,
and others known and unknown, willfully and knowingly, would and
did execute, and attempt to execute, a scheme and artifice to

defraud a financial institution, the deposits of which were then

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federally insured, and to obtain moneys, funds, credits, assets,
securities, and other property owned by, and under the custody
and control of, such financial institution, by means of false
and fraudulent pretenses, representations, and promises, in
violation of Title 18, United States Code, Section 1344, to wit,
AKHAVAN and WEIGAND participated in a scheme to deceive
financial institutions and other financial intermediaries—
including federally insured banks—into processing and
authorizing payments to and from marijuana sale and delivery
businesses and their customers in the United States by
disguising the transactions to create the false appearance that
they were unrelated to the purchase of marijuana, and thereby
obtain money of, or under the custody and control, of those
financial institutions and intermediaries.

(Title 18, United States Code, Section 1349.)

FORFEITURE ALLEGATION

 

17. As a result of committing the offense alleged in
Count One of this Indictment, HAMID AKHAVAN, a/k/a “Ray
Akhavan,” and RUBEN WEIGAND, the defendants, shall forfeit to
the United States, pursuant to Title 18, United States Code,
Section 982(a) (2) {A}, any and all property constituting, or
derived from, proceeds obtained directly or indirectly, as a
result of the commission of said offense, including but not

limited to a sum of money in United States currency representing

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the amount of proceeds traceable to the commission of said
offense.

Substitute Assets Provision

 

18. If any of the above-described forfeitable property, as
a result of any act or omission of the defendants:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

Cc. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property

of the defendants up to the value of the above forfeitable

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property.

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

 
 
 
 

       
  

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Foreperson

 

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. BERMAN
United States Attorney
Southern District of New York

 

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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
Vv.

HAMID AKHAVAN, a/k/a “Ray Akhavan,” and
RUBEN WEIGAND,

Defendants.

 

SEALED INDICTMENT
S3 20 Cr. 188

(18 U.S.C. § 1349.)

GEOFFREY S. BERMAN
United States Attorney.

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Foreperson.,

 

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